                             UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

IN RE:
Monica Borja,                                                    :     Chapter 13
                                                                 :
                                                                 :
                                    Debtor.                      :     Bky. No. 22-10001 (PMM)
--------------------------------------------------------------


                                                   ORDER

         AND NOW, upon consideration of the Chapter 13 Trustee’s Motion to Dismiss with

Prejudice (doc. #70, the “Motion”);

         AND a hearing with regard to the Motion having been held and concluded on February

23, 2023;

         AND for the reasons stated at the hearing, it is hereby ordered that:

         1) The Motion is granted in part and denied in part;

         2) This bankruptcy case is dismissed without prejudice; and

         3) Any future filing or refiling, singularly or jointly by the Debtor will not act as a stay

             against Paramount Residential Mortgage Group, Inc., its successors or assigns from

             exercising its/their rights to take immediate legal action for the enforcement of

             its/their rights to possession to the premises located at 913 Constitution Ave., Pen

             Argyl, PA 18072.



Date: February 23, 2023
                                                                    _________________________________
                                                                 PATRICIA M. MAYER
                                                                 U.S. BANKRUPTCY JUDGE
